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                                                                   FILED
                                                                  Aug 29, 2024
                                                               CLERK, U.S. DISTRICT COURT
                                                             EASTERN DISTRICT OF CALIFORNIA




                                                       1:24-CR-00209-KES-BAM




                               And to be placed on calendar for arraignment
                               upon transport arrival 8/29/24
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